Case 3:15-md-02670-DMS-MDD Document 2893 Filed 08/19/22 PageID.253550 Page 1 of 12




      1    BETSY C. MANIFOLD (182450)
           manifold@whafh.com
      2    RACHELE R. BYRD (190634)
           byrd@whafh.com
      3    ALEX J. TRAMONTANO (276666)
           tramontano@whafh.com
      4    WOLF HALDENSTEIN ADLER
      5       FREEMAN & HERZ LLP
           750 B Street, Suite 1820
      6    San Diego, CA 92101
           Telephone: 619/239-4599
      7    Facsimile: 619/234-4599
      8    Class Counsel for the End Payer Plaintiffs
      9    [Additional Counsel Listed on Signature Page]
     10
                              UNITED STATES DISTRICT COURT
     11
                           SOUTHERN DISTRICT OF CALIFORNIA
     12
     13
          IN RE: PACKAGED SEAFOOD                       Case No. 15-MD-2670 DMS (MDD)
     14   PRODUCTS ANTITRUST
     15   LITIGATION
                                                        END PAYER PLAINTIFFS’
     16                                                 MEMORANDUM OF POINTS AND
     17                                                 AUTHORITIES IN FURTHER
          This Document Relates To:                     SUPPORT OF, AND IN RESPONSE
     18                                                 TO, DEFENDANTS’ OPPOSITION
     19   End Payer Plaintiffs Class Track              TO THEIR MOTION FOR
                                                        APPROVAL OF CLASS NOTICE
     20
                                                        PLAN
     21
     22                                                 DATE:    August 26, 2022
                                                        TIME:    1:30 P.M.
     23                                                 JUDGE:   Hon. Dana M. Sabraw
     24                                                 CTRM:    13A (13th floor)
     25
     26
     27
     28



                                                          Case No. 15-MD-2670 DMS (MDD)
Case 3:15-md-02670-DMS-MDD Document 2893 Filed 08/19/22 PageID.253551 Page 2 of 12




      1   I.    INTRODUCTION
      2         Pursuant to the Court’s July 15, 2022 Order Granting End Payer Plaintiffs’
      3   Motion for Costs in Conjunction with the COSI Settlement (ECF 2872 at 8) (“Final
      4   Approval Order Costs”), End Payer Plaintiffs (“EPPs”), on behalf of themselves and
      5   all members of the certified EPP Class1 submitted a proposed plan for the effective
      6   and efficient dissemination of class notice to the EPP Class (the “Class Notice
      7   Plan”). The Court’s July 15, 2022 Order approved “Class Counsel’s request that the
      8   proposed follow up campaign be delayed in order for Class Counsel to submit a
      9   Class Notice plan combining these media efforts.” Id. at 4. In opposing the Class
     10   Notice Plan, Starkist Co. and Dongwon Industries Co., Ltd. (“Defendants” or
     11   “StarKist’) do not dispute EPPs’ Class Notice Plan satisfies Federal Rule of Civil
     12   Procedure 23, comports with due process, or is the best practicable under the
     13   circumstances.
     14         Instead, Defendants seek to stay this process “pending appeal.” See StarKist
     15   Opp.2 at 3, 11. It is undisputed that StarKist did not seek to stay the mandate
     16   pending a petition for certiorari.     See Federal Rules of Appellate Procedure
     17   (“FRAP”) 41 (requiring “good cause for a stay” which must “not exceed 90 days”
     18   and may require a security or bond). In fact, both the District Court and the Ninth
     19   Circuit denied Defendants’ prior motions to stay the proceedings pending appeal.
     20   See ECF 2307 at 20 (“Defendants’ motion to stay pending Rule 23(f) appeal is
     21   denied”); ECF 2308 at 2 (Appellants’ emergency motion to stay is denied).
     22
     23
          1
     24          See ECF 1931 (“Class Order”), affirmed by Olean Wholesale Grocery Coop.,
          Inc. v. Bumble Bee Foods LLC, 31 F.4th 651 (9th Cir. 2022) (en banc). For
     25   convenience, the Cartwright Act class and 32 individual state classes certified by the
     26   Court are referred to herein as the “Class.”
     27   2
               StarKist Opp. or StarKist Opposition refers to Defendants StarKist Co. and
     28   Dongwon Industries Co., Ltd.’s Opposition to End Payer Plaintiffs’ Motion for
          Approval Class Notice Plan (ECF 2890).

                                               -1-
                                                         Case No. 15-MD-2670 DMS (MDD)
Case 3:15-md-02670-DMS-MDD Document 2893 Filed 08/19/22 PageID.253552 Page 3 of 12




      1   Although Defendants may assiduously avoid the word ‘stay’ in its opposition, it is
      2   clear that StarKist’s request to “delay dissemination” of Class Notice “while
      3   Defendants’ appeal is pending” is a stay. StarKist Opp. at 11. Defendants have not
      4   addressed and make no attempt to satisfy the “irreparable harm” requirement for a
      5   stay (because they cannot) other than their own manufactured ‘confusion’ about the
      6   Class Notice Plan. See Adoma v. Univ. of Phoenix, Inc., 2010 U.S. Dist. LEXIS
      7   114503, at *11 (E.D. Cal. 2010) (defendants have not demonstrated “irreparable
      8   harm if class notice is disseminated”). StarKist’s goal appears to be further delay of
      9   this now seven year old case or to delay class notice for some unstated appellate
     10   advantage. As discussed below, no further delay in the dissemination of Class
     11   Notice can be tolerated without causing substantial harm and prejudice to the Class.
     12           Despite protestations to the contrary, StarKist is neither confused nor
     13   surprised by the relief sought. As discussed below, throughout the class certification
     14   and COSI Settlement process, the EPPs were clear that they intended to disseminiate
     15   Class Notice after the COSI Settlement was approved. Manifold Decl., ¶¶ 3-6. The
     16   EPPs’ Motion for Costs in conjuction with the COSI Settlement also clearly
     17   requested this relief in order combine the efficiencies of the follow up campaign for
     18   the COSI Settlement with a robust Class Notice Plan.3 The July 15, 2022 Order
     19   approved this request. ECF 2872 at 8. The proposed Class Notice plan was to be
     20   submitted “no later than fourteen days (14) from the date” of the Court’s order. Id.
     21   at 4.
     22           This short delay allowed EPPs to submit a proposal for a Class Notice which
     23   is cost effective and benefits from the re-targeting data efficiencies of COSI
     24   Settlement. By noticed motion, the EPPs submitted their proposed Class Notice
     25
     26   3
               The EPPs’ Memorandum of Points and Authorities in Further Support of EPPs’
     27   Motion for Costs in Conjunction with the COSI Settlement clearly requested this
     28   relief “in order to conserve resources” by combining the COSI Settlement follow-up
          campaign with robust Class Notice Plan. ECF 2845-1 at 8, 17.

                                               -2-
                                                         Case No. 15-MD-2670 DMS (MDD)
Case 3:15-md-02670-DMS-MDD Document 2893 Filed 08/19/22 PageID.253553 Page 4 of 12




      1   Plan and requested the Court’s permission to disseminate Class Notice. In response,
      2   StarKist was able to and did, in fact, submit its opposition.
      3         As discused below, dissemination of Class Notice is appopriate at this time.
      4   Disssemination of Class Notice is not “early” but follows a robust settlement class
      5   notice and three years of appellate review ending with an en banc Ninth Circuit
      6   decision and issucance of a mandate by the Court of Appeals. The potential concerns
      7   raised by Defendants either do not exist here or are outweighed by the actual benefits
      8   to be achieved by disseminating Class Notice now.
      9         First, disseminating Class Notice now builds upon the efficiencies of the
     10   retargeting data gathered as part of the COSI Settlement Plan (only available for a
     11   limited window of time) and saves the Class a miminum of $98,000 in notice costs
     12   and likely more. If Class Notice is delayed for months or years, the costs of Class
     13   Notice will be substantially more expensive and potentially less effective.
     14         Second, the Class Notice clearly advises Class Members and updates COSI
     15   Settlement Class Members in plain english about Defendants’ Supreme Court
     16   petition and its potential impact on class certification. The EPPs have further agreed
     17   to make nearly all of the Defendants’ suggested revisions to the Class Notice. The
     18   Class Notice further advises Class Members to check the Case Website for further
     19   developments.
     20         Third, disseminating the Class Notice allows Class Members to opt out now
     21   and, if they wish to do so, bring their own case aware of potential class certification
     22   risks as well as the risks of further delay with a case that is already seven years old.
     23   Class counsel will safeguard and avoid the disclousre of the opt-outs personal
     24   information (other than their name) to protect their privacy interests.
     25         EPPs respectfully request that the Court enter the proposed Order Approving
     26   EPPs’ Class Notice Plan. Any further delay in the dissemination of Class Notice is
     27   both harmful and costly to potential Class Members.
     28


                                                -3-
                                                          Case No. 15-MD-2670 DMS (MDD)
Case 3:15-md-02670-DMS-MDD Document 2893 Filed 08/19/22 PageID.253554 Page 5 of 12




      1   II.   RELEVANT PROCEDURAL BACKGROUND
      2         A. Dissemination of Class Notice Is No Longer “Premature”
      3         On July 30, 2019, the Court certified EPPs’ and the other Plaintiffs’ classes.
      4   See ECF 1931 (“Class Order”). In the Class Order, the Court directed Class Counsel
      5   for each tract “to submit a proposed plan for dissemination to the Classes within
      6   thirty days of the electronic docketing of this Order.” Id. at 59. On August 13, 2019,
      7   the Non-settling Defendants4 filed a Rule 23(f) petition with the United States Court
      8
          of Appeals for the Ninth Circuit (“Ninth Circuit”) seeking permission to appeal this
      9
          Court’s Class Order. See Olean Wholesale Grocery Coop v. Bumble Bee Foods
     10
          LLC, No. 19-80108, ECF 1, 2. On August 29, 2019, in accordance with the Class
     11
          Order, the EPPs’ filed a Proposed Plan for Dissemination of Class Notice. ECF
     12
          1941. In the Proposed Plan, the EPPs requested that the Court “order the abeyance
     13
          of EPPs’ notice to the Class until the Court considers the motion for preliminary
     14
          approval of EPPs’ settlement with the COSI Defendants.” Id. at 8. Following this
     15
     16   submission, on December 20, 2019, the Ninth Circuit granted Defendants 23(f)

     17   petition.
     18         On January 20, 2020, in a two line order, the Court noted that an unopposed
     19   motion (ECF 1941) filed by the EPPs for approval of their proposed notice plan for
     20   dissemination of class was pending and “[g]iven the pending appeal, the Court
     21   DENIES WITHOUT PREJUDICE the Motion as premature.” ECF 2272 at 1. The
     22   Court’s January 20, 2020 Order was not sua sponte, contained no discussion of the
     23   “concerns” raised by Defendants as “still applicable today”, and was in accord with
     24
     25
     26
     27   4
                The Non-settling Defendants are StarKist Co. and its parent Dongwon
     28   Industries Co., Ltd. (collectively “StarKist”) and various “Lion Capital” entities (i.e.,
          Lion Capital (Americas), Inc., Big Catch Cayman LP, and Lion Capital LLP).

                                                -4-
                                                           Case No. 15-MD-2670 DMS (MDD)
Case 3:15-md-02670-DMS-MDD Document 2893 Filed 08/19/22 PageID.253555 Page 6 of 12




      1   the EPPs’ request to hold dissemination of class notice until the Court’s approval of
      2   the COSI Settlement. See StarKist Opp. at 6.
      3          As the Court is well aware, preliminary approval of the partial COSI
      4   Settlement was delayed until January 26, 2022 which was due, in part, to the
      5   procedural posture of Non-Settling Defendants’ appeal of the Class Order. ECF
      6
          2734 (“Preliminary Approval Order”). On May 11, 2021, the Court vacated the then
      7
          pending Preliminary Approval Motions (ECF 2533, 2552, 2561) and denied the
      8
          motions as premature. ECF 2593 at 6. The Court noted that “[a]lthough all three
      9
          classes were certified by this Court, the Court of Appeals vacated the Class
     10
          Certification Order” and “[i]n the present procedural posture, none of the classes are
     11
          certified, and class certification remains with the Court of Appeals until it issues a
     12
          mandate.” Id. at 3. Following its April 8, 2022, en banc decision upholding the
     13
     14   Class Order, the Ninth Circuit issued a mandate on May 2, 2022. Olean Wholesale

     15   Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651 (9th Cir. 2022); ECF

     16   2840. On May 20, 2022, this Court held a Mandate Hearing and spread the mandate.
     17   ECF 2828 (“Order re: Mandate”). Defendants did not request any stay of the
     18   mandate under Rule 41(d) of the Federal Rules of Appellate Procedure (“FRAP”).
     19   III.   ARGUMENT
     20          A.    Dissemination of Class Notice Now is Appropriate
     21          Dissemination of Class Notice is appropriate at this time. Under FRAP 41(a),
     22   the Ninth Circuit issued a formal mandate and this Court held a Mandate Hearing.
     23   ECF 2828, 2839, 2840. Defendants have not requested a stay of the mandate. Under
     24   the Court’s May 11, 2021 Order, the issues of class certification are no longer
     25   “premature.” ECF 2593 at 6. Further, as noted by one Court, even if a stay was
     26   appropriate for a pending 23(f) appeal, the extension of such a stay “[w]hile the
     27
          losing party may ultimately seek certiorari before the Supreme Court” would be
     28
          akin to granting “an indefinite stay. . . .” Kristensen v. Credit One Bank, N.A., No.

                                               -5-
                                                         Case No. 15-MD-2670 DMS (MDD)
Case 3:15-md-02670-DMS-MDD Document 2893 Filed 08/19/22 PageID.253556 Page 7 of 12




      1   CV 14-7963 DMG, 2016 U.S. Dist. LEXIS 191560, at *5 (C.D. Cal. July 28, 2016).
      2   By asking to further delay Class Notice now, StarKist is essentially asking for “an
      3   indefinite stay.”
      4         Contrary to StarKist’s contention, Class Notice is not premature. Each of the
      5   cases upon which StarKist relies arose in conjunction with a request for a stay
      6
          pending a 23(f) petition or appeal. See Brown v. Wal-Mart Stores, Inc., No. 5:09-
      7
          CV-03339-EJD, 2012 U.S. Dist. LEXIS 163731, at *4 (N.D. Cal. Nov. 15, 2012)
      8
          (“Defendant then filed the instant motion to stay proceedings in this court until
      9
          resolution of its Rule 23(f) petition.”); In re Rail Freight Fuel Surcharge Antitrust
     10
          Litig., 286 F.R.D. 88, 90 (D.D.C. 2012) (same); Bally v. State Farm Life Ins. Co.,
     11
          No. 18-cv-04954-CRB, 2020 U.S. Dist. LEXIS 100293, at *8 (N.D. Cal. June 5,
     12
          2020) (same); Romero v. Securus Techs., 383 F. Supp. 3d 1069, 1072 (S.D. Cal.
     13
          2019) (same). Furthermore, not one of the authorities relied upon by StarKist arose
     14
     15   after a partial settlement which provided monetary benefits to Class Members and

     16   which required the settling defendant to pay the costs of notice.
     17         As discussed below, Class Members would only suffer any prejudice or harm
     18   by the further delay of the issuance of Class Notice. As noted above, both this
     19   District Court and the Ninth Circuit rejected StarKist’s prior motions for stay
     20   pending the 23(f) petition and appeal. Thus, through this opposition “[r]ather than
     21   presenting . . . serious legal questions” which could possibly justify the requested
     22   stay in Class Notice, StarKist “seeks to re-litigate objections this Court overruled in
     23   the class certification order” and denial of the previously requested stay. See Reyes
     24   v. Educ. Credit Mgmt. Corp., No. 15-cv-00628-BAS, 2017 U.S. Dist. LEXIS
     25   171834, at *6-7 (S.D. Cal. Oct. 17, 2017).
     26
                B.     Delay of Class Notice is Harmful to Class
     27
                Disseminating Class Notice now as part of the follow up COSI Settlement
     28
          campaign is both cost-effective and more efficient for Class Members. The costs of

                                               -6-
                                                          Case No. 15-MD-2670 DMS (MDD)
Case 3:15-md-02670-DMS-MDD Document 2893 Filed 08/19/22 PageID.253557 Page 8 of 12




      1   Class Notice will be offset by the $97,870 media costs set aside from the COSI
      2   Settlement and further benefits from the substantial re-targeting data already
      3   gathered during the robust COSI Settlement Notice Plan. Manifold Decl., ¶ 7. The
      4   re-targeting data acquired from Facebook and Instagram can only be held and used
      5   for 180 days and will expire by no later than October 2022. Intrepido-Bowden Decl.,
      6
          ¶ 5. If the dissemination of Class Notice is delayed now, even for a few weeks or
      7
          “one year or more” as StarKist suggests, the notice costs will be substantially more.
      8
          StarKist Opp. at 7. As of April 2022, the costs of developing the robust COSI
      9
          Settlement Plan from the ground up were over $1 million. ECF 2845 at 2. The
     10
          savings in providing Class Notice now is substantial for the Class. Class Counsel
     11
          estimates notice costs to be approximately $300,000 if provided as part of COSI
     12
          Settlement follow up campaign and the re-targeting data is available for use.
     13
     14   Manifold Decl., ¶ 8. Any additional expense if the notice needs to be revised in the

     15   event of decertification would be nominal and include updates to the Case Website

     16   and direct e-mail notice to the COSI Settlement Claimants.5 The only “harm” here
     17   is if dissemination of Class Notice is further delayed. See StarKist Opp. at 6.
     18         C.     The Class Notice Is Clear, Accurate and Objective
     19         Combining the follow up COSI Settlement media campaign with the Class
     20   Notice does not “confuse” but updates potential Class Members. See StarKist Opp.
     21
     22
          5
     23    The Class Notice(s) all advise Class Members that the “The United States Supreme
          Court may or may not grant StarKist’s petition” and “If the United States Supreme
     24
          Court agrees to hear StarKist’s appeal, then it may impact the Class Order.” See
     25   ECF 2881-2 (Declaration of Gina M. Interpido-Bowden Re: Proposed Plan for Class
     26   Notice of End Payer Plaintiffs), Exhibits (“Exs.”) C and D. Class Members are
          advised to check the website for further developments. Id., Ex. D. The COSI
     27   Settlement Claimants can be advised by email at an approximate cost of $20,000.
     28   Manifold Decl., ¶ 9.


                                               -7-
                                                         Case No. 15-MD-2670 DMS (MDD)
Case 3:15-md-02670-DMS-MDD Document 2893 Filed 08/19/22 PageID.253558 Page 9 of 12




      1   at 7. The potential confusion identified by Defendants (and the authorities they cite)
      2   may arise during a Rule 23(f) appeal to the Court of Appeals. As result, Courts may
      3   grant a Defendants’ request to stay dissemination of the class notice.6 That is not
      4   the procedural posture of this litigation. Defendants now must address, but do not
      5   and cannot, address the “harm” of an indefinite stay after Mandate issued by the
      6   Ninth Circuit and was spread by the District Court. Furthermore, Defendants should
      7
          not be permitted to do an end-run around the procedural requirements for a stay
      8
          under FRAP 41 (b). Here, more significantly, the COSI Settlement Class Notice has
      9
          already been disseminated and informed potential Class Members about the then
     10
          pending Ninth Circuit appeal.7 The Class Notice(s) essentially update both the COSI
     11
          Settlement Class Members and potential Class Members on the favorable class
     12
          certification decision and advises them to monitor the Case Website for updates
     13
          based on the Defendants’ Supreme Court petition.          See fn. 4, supra.     Here,
     14
     15   dissemination of the Class Notice avoids any confusion about the status of the Ninth

     16   Circuit appeal and explains the risk of StarKist’s potential appeal. Furthermore, as
     17
     18
     19
          6
     20     Here, in their original Notice Plan, the EPPs agreed to stay dissemination of Class
          Notice until preliminary approval of the COSI Settlement. ECF 1941. The Court
     21   then formalized the stay pending the issuance of a mandate by the Court of Appeals.
     22   ECF 2593.
     23   7
              The COSI SETTLEMENT CLASS NOTICE stated:
     24
                 “On August 3, 2021, following a vote of non-recused active judges, the Court
     25          of Appeals vacated the April 6, 201 decision, ordering that an eleven-judge
     26          panel rehear the case. Oral argument before this larger panel was held on
                 September 22, 2021. The parties await a decision. Case updates will be
     27          provided at the Case Website…..”
     28
                 ECF 2827, Ex. F.

                                               -8-
                                                         Case No. 15-MD-2670 DMS (MDD)
Case 3:15-md-02670-DMS-MDD Document 2893 Filed 08/19/22 PageID.253559 Page 10 of
                                     12



     1   discussed below, EPPs have agreed to incorporate substantially all of Defendants’
     2   changes in the description and impact of StarKist’s appeal to the Supreme Court.
     3         D.     No Privacy Concerns Exist for Opt-Outs
     4         Disseminating the Class Notice nows allows Class Members to opt out and, if
     5   they wish to do so, bring their own case aware of the risks to class certification and
     6   the possibility of further delay in a litigation already seven years old. As to any
     7   privacy concerns raised by StarKist, in the COSI Settlement, the only opt-outs were
     8
         certain Direct Action Plaintiffs who have already publicly filed separate actions. If
     9
         the DAPS are again the only opt-outs, then there are no privacy concerns.
    10
               Class Counsel will further safeguard and avoid the disclosure of any
    11
         individual opt-outs personal information (other than their name) to protect their
    12
         privacy interests. This is not the type of litigation (such as an employement or
    13
         privacy action) where the name of an opt-out may be readily identifiable by others
    14
         (an employer or fellow employees) or carry some stigma (criminal rights violation)
    15
    16   and raise hightened privacy concerns. See Brown, 2012 U.S. Dist. LEXIS 163731

    17   (Wal-Mart employees); Romero, 383 F. Supp. 3d (improper recording of inmates
    18   calls). If any potential Class Member elects to opt out, their name on an opt-out list
    19   amongst tens of millions of potential Class Members carries little to no privacy risks.
    20         E.      Defendants’ Proposed Changes to the Class Notice
    21         As part of the EPPs’ on-going efforts to resolve StarKist’s objections to the
    22   proposed Class Notice, Class Counsel has reviewed and accepted most (but not all)
    23   of the Defendants’ proposed revisions to the Class Notice. See Manifold Decl., Exs.
    24   A (final) and B (redline showing unaccepted changes). Certain changes were not
    25   accepted as confusing, repetitive or lacking clarity. Id.
    26         For all of the reasons discussed above, the Court should also deny the
    27   Defendant’s alternative request to delay both the dissemination of the proposed
    28
         Class Notice and the follow up COSI Settlement media campaign. StarKist Opp. at

                                              -9-
                                                         Case No. 15-MD-2670 DMS (MDD)
Case 3:15-md-02670-DMS-MDD Document 2893 Filed 08/19/22 PageID.253560 Page 11 of
                                     12



     1   11. This approach is neither cost effective nor more efficient since any further delay
     2   loses the substantial benefit of the COSI Settlement retargeting data. However, if
     3   the Court is inclined to grant StarKist’s request for relief (and it should not), the
     4   EPPS respectfully request that StarKist be directed to provide a bond or security in
     5   the amount of $1,000,000 in order to cover the costs of the delayed Class Notice if
     6   their Supreme Court appeal is unsuccessful. This amount could then be used to pay
     7
         the actual costs of the delayed Class Notice and operate just as the $5,000,000 Notice
     8
         Set-Aside Fund functioned in the COSI Settlement. Had Defendants properly
     9
         requested a stay of the Mandate, StarKist could have been required to post a security
    10
         or bond under FRAP 41(d)(3). Defendants should not be permitted to do an end-
    11
         round the protections provided by the federal appellate rules and avoid the
    12
         procedural consequences of their request.
    13
         IV.    CONCLUSION
    14
                EPPs’ Class Notice Plan fully comports with the requirements of Federal Rule
    15
    16   of Civil Procedure 23(c)(2)(B) and due process because it constitutes the best notice

    17   practicable under the circumstances. Dissemination of Class Notice is appropriate
    18   at this time.
    19
         Dated: August 19, 2022                 Respectfully submitted,
    20
    21                                          WOLF HALDENSTEIN ADLER
                                                 FREEMAN & HERZ LLP
    22
    23                                          /s/ Betsy C. Manifold
                                                BETSY C. MANIFOLD
    24
    25                                          BETSY C. MANIFOLD
                                                RACHELE R. BYRD
    26                                          ALEX J. TRAMONTANO
                                                750 B Street, Suite 1820
    27                                          San Diego, CA 92101
                                                Telephone: 619/239-4599
    28                                          Facsimile: 619/234-4599
                                                manifold@whafh.com

                                             - 10 -
                                                        Case No. 15-MD-2670 DMS (MDD)
Case 3:15-md-02670-DMS-MDD Document 2893 Filed 08/19/22 PageID.253561 Page 12 of
                                     12


                                          byrd@whafh.com
     1                                    tramontano@whafh.com
     2                                    WOLF HALDENSTEIN ADLER
     3                                     FREEMAN & HERZ LLP
                                          THOMAS H. BURT
     4                                    270 Madison Avenue
                                          New York, New York 10016
     5                                    Telephone: 212/545-4600
                                          Facsimile: 212/545-4653
     6                                    burt@whafh.com
     7                                    WOLF HALDENSTEIN ADLER
                                           FREEMAN & HERZ LLC
     8                                    CARL MALMSTROM
                                          111 West Jackson, Suite 1700
     9                                    Chicago, IL 60604
                                          Telephone: 312/984-0000
    10                                    Facsimile: 312/212-4401
    11                                    malmstrom@whafh.com

    12                                    Class Counsel for the End Payer Plaintiffs
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
         TUNA:28642
    28


                                         - 11 -
                                                  Case No. 15-MD-2670 DMS (MDD)
